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                 EXHIBIT 9
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                            y, 4 BARBARA BUSH
                                          HOUSTON LITERACY FOUNDATION


May 23, 2019

Judge J. Paul Oetken
United States District Courthouse
40 Foley Square
New York, NY 10007

Dear Honorable Oetken:

Barbara Bush Houston Literacy Foundation (the Foundation) is a 501(c)(3) tax-exempt, charitable
organization created by the Bush family to improve the quality of lives through the power of literacy.
The Foundation advocates for literacy as a fundamental right for everyone and views literacy as a
necessary skill to achieve individual, family, and community success. It is founded on the belief held by
former First Lady Barbara Bush: "If you help a person to read, then their opportunities in life will be
endless."

I write this letter regarding one of our volunteers, Cindy Holder. Cindy began volunteering with our
organization in March of 2017 by helping us sort books for Houston-area children through our My Home
Library Program. Through the program, children create an online wish list books to begin their own
home libraries and volunteers fulfill the wish lists by sorting and bagging books to be delivered to the
children. Cindy was initially assigned to our "quality control" table to ensure that the correct six books
had been selected from the thousands of books we procure. She immediately stood out to us, not just
because of her work ethic, but also because she demonstrated passion for our cause. During gaps from
station to station, Cindy would look around, find another station that was behind, and go over and help.
We very quickly identified her as one of our top volunteers. After that, she always arrived early and
stayed late to assist at our other events. Cindy has a great attitude and believes in our mission. She
wishes to help in any way possible.

She has now gone from helping with our book sorts to helping in our office. She prepares items in
advance of our book sorts, receives shipments at our off-site warehouse, prepares boxes for major
donors, and many other various administrative duties. When she finishes any task, she goes around the
office asking others what she can take off their list to "get them home earlier." Cindy has made herself
available even when we reach out the night before we need her help. She does whatever she can to
help and has made it clear that it doesn't matter whether it is printing documents or taking on more
important roles in advancing our My Home Library. We are fortunate to have Cindy as a volunteer and
would love to have more volunteers like her involved in our organization.

Cindy has made us aware of her legal situation. Before volunteering in the office, Cindy met with
Director of Strategic Partnerships who leads our My Home Library program and me to address any
questions that we might have related to her situation. We consider Cindy an asset to the Foundation
and would gratefully accept any community service hours the Court may require.

Sincerely,


Julie Ba        k, Ph.D.
Preside
                           7887 San Felipe, Suite 25, Houston, Texas 77063 — 346-212-2310
                                            www.BushHoustonLiteracy.org
